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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



    WILLIAM C. TOTH JR., ET. AL.                 :          No. 1:22-cv-00208-JPW
                                                 :
                        Plaintiffs               :
                                                 :
    v.                                           :
    LEIGH M. CHAPMAN, ET. AL.                    :
                                                 :
                        Defendant                :


                           DECLARATION OF AARON BASHIR

        Under 28 U.S.C. § 1746, I, Aaron Bashir, make this declaration as follows:

        1.     I am a Philadelphia Republican City Committee endorsed candidate for

United States Congress for the Second Congressional District of Pennsylvania.

        2.     The incumbent in the Second Congressional District is Brendan Boyle,

a Democrat.

        3.     According to registration records, the Second Congressional District has

a +44% Democratic voter-registration advantage. 1

        4.     The Pennsylvania Supreme Court’s order of February 23, 2022, inflicts

irreparable harm by forcing me to run in a congressional district with a massive

Democratic voter-registration advantage, rather than in a statewide at-large election

where the number of Democratic and Republican voters are more evenly split.




1   https://projects.fivethirtyeight.com/redistricting-2022-maps/pennsylvania/preliminary_plan   (last
visited February 24, 2022)
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      5.     The Pennsylvania Supreme Court’s order of February 23, 2022, inflicts

additional irreparable harm because the court-drawn map is unconstitutional under

the Elections Clause and 2 U.S.C. § 2a(c)(5), and there is a serious risk that a federal

court or the Supreme Court of the United States will declare the map unlawful after

I have spent time and resources campaigning in the court-drawn congressional

district. Preliminary-injunctive relief is needed to remove this uncertainty.

      6.     The lingering uncertainty over the legality and constitutionality of the

court-drawn map inflicts additional irreparable harm by making it difficult to raise

money from donors to finance my campaign.

      7.     Many donors want to know the particulars of a race before committing

financial resources to it. Yet it remains unclear whether the court-imposed map will

be used for the 2022 elections because the state supreme court’s order of February

23, 2022, is patently unconstitutional and is likely to be declared so at the conclusion

of this litigation or in other lawsuits or appeals that challenge the legality of the state

supreme court’s actions.

      8.     Without financial resources, I cannot finance my campaign and my

ability to broadcast my campaign message to voters is greatly diminished as I cannot

pay staff, purchase advertising, and print campaign literature.

      9.     I declare, certify, verify, and state under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.
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___________________________________
AARON BASHIR


Date:______________________________
